      Case 2:24-cv-06775-GAM         Document 15-1     Filed 02/19/25   Page 1 of 1




                         IN THE UNITED STATES COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Meridian Equipment Finance, LLC                    )
                                                   )
                             Plaintiff,            )   Civil Action No. 24-6775
                                                   )
v.                                                 )
Rejuvenation Treatment Center, LLC                 )
d/b/a Center for Urology, Abraham L.               )   Complaint filed: July 2, 2024
Woods III, M.D., PA and Abraham L.                 )   Philadelphia Court of Common Pleas
Woods, III                                         )
                             Defendants,           )   Case No. 240700279
                                                   )
v.                                                 )
BTL Industries, Inc.                               )
                             Additional Defendant. )
__________________________________________)


                                   (PROPOSED) ORDER



       AND NOW, this ________________ day of __________________2025, upon

consideration of Defendant BTL Industries, Inc.’s Motion to Dismiss the Woods

Defendants’ First Amended Joinder Complaint, and any response and opposition thereto,

it is hereby ORDERED and DECREED that the motion is DENIED.




                                                       BY THE COURT:




                                                       ______________________________
                                                                   U.S.D.J.
